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4
     Attorney for Defendant
5    DAVID PEREZ RAMIREZ

6

7
                             IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,               )    2:07-CR-00248 WBS
11                                           )
                                Plaintiff,   )
12                                           )    STIPULATION AND
     v.                                      )    ORDER TO MODIFY BRIEFING
13                                           )    SCHEDULE
                                             )
14   DAVID PEREZ RAMIREZ,                    )
                                             )
15                           Defendant.      )
     __________________________________      )
16
           On November 10, 2016, Mr. Ramirez filed his amended motion to reduce
17
     sentence pursuant to 18 U.S.C. § 3582(c)(2).       CR 1458.   The government filed
18
     its opposition on December 1, 2016.     CR 1471.   Pursuant to this Court’s order
19
     signed on March 24, 2017, the date due for the reply brief was moved to April
20
     24, 2017.   CR 1515.
21
           Ms. Radekin has made multiple attempts to obtain the disciplinary
22
     records pertaining to the disciplinary violation which the government cites
23
     as a basis to deny a reduction under Amendment 782.      All attempts have
24
     failed; the prison has refused to provide the records, even though it
25
     initially appeared prison staff would comply with a request pursuant to an
26
     authorization.   Ms. Radekin was informed she must make a request under the
27
     Freedom of Information Act, which can be time consuming.       Ms. Radekin
28



             STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 1
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 1   requested the government obtain the records; however, on April 26, 2017, the

 2   government informed her it was unable to obtain them.      In light of these

 3   circumstances, Ms. Radekin has concluded she will prepare the reply brief

 4   based on the limited records she has pertaining to the violation.        She needs

 5   additional time, however, to complete the reply brief.

 6            Accordingly, the parties stipulate and request that the date due for

 7   the reply brief be modified to May 8, 2017.      Assistant United States Attorney

 8   Jason Hitt has indicated he has no objection to the modification of the reply

 9   brief due date and has authorized Ms. Radekin to sign this stipulation on his

10   behalf.

11   IT IS SO STIPULATED.

12   Dated: April 28, 2017                          PHILLIP A. TALBERT
                                                    United States Attorney
13
                                            By:     /s/ Jason Hitt
14                                                  JASON HITT
                                                    Assistant United States
15

16   Dated: April 28, 2017                          /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
17                                                  Attorney for Defendant
                                                    DAVID PEREZ RAMIREZ
18

19                                          ORDER

20            Pursuant to the parties’ stipulation, and good cause appearing, it is

21   hereby ordered that the reply brief due date be modified to May 8, 2017.

22
     Dated:    May 1, 2017
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                STIPULATION AND [PROPOSED] ORDER TO MODIFY REPLY BRIEF DUE DATE - 2
